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AO 9I (Rev. 1I/LE) Criminal Complains

UNITED STATES DISTRICT COURT

for the
Middle District of Georgia

 

 

 

United States of America }
v. )
} Case No.
Cody Richard Griggers 5:20-MJ-82
)
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 19, 2020 in the county of Laurens in the
Middle District of Georgia , the defendant(s) violated:
Code Section Offense Description
26 U.S.C. § 5861{(d)} Possession of an Unregistered Firearm

This criminal complaint is based on these facts:

See attached affidavit of FBI SA Thomas J. Mitchem

@ Continued on the attached sheet,

La

Complainant “fs Henatur "e Cf
Thomas J. Mitchem, Special Agent

Printed name and title

 

 

 

Sworn to before me and signed in my presence.

 

 

Judge @ signhture

City and state: Macon, Georgia Charles H. Weigle, United States Magistrate Judge

Printed name and title

 
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AFFIDAVIT OF S.A. THOMAS J. MITCHEM

BEFORE ME, the undersigned authority, appeared by telephone, Thomas J.
Mitchem who, after being duly sworn, stated the following information which he
acknowledges as true to the best of his knowledge and belief:

INTRODUCTION AND AGENT BACKGROUND

1. I have been a Special Agent with the Federal Bureau of Investigation
for 15 years. Prior to becoming a FBI Special Agent, I was employed for
approximately 5 years as a Special Agent with the Georgia Bureau of Investigation.
Upon being hired as a Special Agent with the FBI, I attended the FBI Academy in
Quantico, Virginia, where I received extensive training on investigating various
violations of federal law. Over the course of my law enforcement career, I have
received training in federal firearms laws, conducted numerous investigations into
the violation of Title 26, United States Code, Sections 5861(d) possession of a
firearm not registered to him in the National Firearms Registration and Transfer
Record (NFRTR), Section 5861(f) manufacturing a firearm in violation of the
provisions of this chapter, and Section 5861(i).

PURPOSE OF AFFIDAVIT

2.  Affiant is currently participating in an investigation of an unlawful
possession of unregistered NFA weapons and manufacturing NFA weapons in the

Middle District of Georgia, specifically unlawful possession of a short barreled

 

 
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shotgun by: CODY RICHARD GRIGGERS, W/M, DOB: September 18, 1992 ,
SSN: XXX-XXK-9988. The local investigation began in November 2020 and is being
conducted by agents of the FBI and ATF. This Affidavit is submitted in support of
a criminal complaint for GRIGGERS. This affidavit shows that there is probable
cause to believe that GRIGGERS violated Title 26, United States Code, Sections
5861(d) possession of a firearm not registered to him in the National Firearms
Registration and Transfer Record (NFRTR) and 5861(f) manufacturing of illegal

firearms.
INVESTIGATION AND PROBABLE CAUSE

3, As a result of Affiant’s personal participation in this investigation and
reports made to him by other law enforcement officers, Affiant is familiar with this
investigation. On the basis of this familiarity, and on the basis of other information
that Affiant has reviewed and determined to be reliable, Affiant declares that the
facts contained in this Affidavit show that there is probable cause to believe that
GRIGGERS has committed the Offense of Title 26, United States Code, Section
5861(d) possession of a firearm not registered to him in the NFRTR and 5861(
manufacturing of illegal firearms.

Pursuant to two search warrants signed July 31, 2020, by a Magistrate Judge
in the Southern District of California, and executed on August 1, 2020, the FBI

seized and searched a mobile telephone belonging to GREY ZAMUDIO, the subject

 

 
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of an FBI San Diego investigation. Among the people with whom ZAMUDIO was
in regular contact was GRIGGERS and other individuals who were part of a group
text they referred to as “Shadow Moses” or “Shadmo.” ZAMUDIO’S cellular
telephone was forensically exploited by FBI San Diego on August 8, 2020 and the

forensic report was created on August 18, 2020.

By way of background, FBI San Diego’s predication for their investigation
into ZAMUDIO, in part, was based on information they received that ZAMUDIO
had posted several Facebook posts (written here as relayed by FBI San Diego)
stating "the only good liberal is a dead liberal," "I'm ready to die, I welcome
Valhalla," "They have become seperatists, the police can't do anything, they are held
back by heratic polititions an the law of there badge, anything the police do will
make the situation worse, it's up to vigilantie militia to crush the liberal terrorists
[sic]." In addition to the posts, ZAMUDIO had posted videos of himself in the desert
practicing reloading weapons and shooting while running/walking, Additionally, in
some pictures posted ZAMUDIO was seen wearing a plate carrier that appeared to
have a ceramic plate installed and what appeared to be a Kevlar helmet. Furthermore,
it was learned by FBI San Diego, that ZAMUDIO owned several assault rifles with
suppressors. FBI San Diego verified through the ATF that ZAMUDIO did not have
any firearms (suppressors) registered to him and had not paid any tax to the ATF for

the receipt of firearms.

 
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4. Through research in National Crime Information Center, the Georgia

Driver’s license database, the Georgia Driver Record and Integrated Vehicle
Enterprise System, FBI records, and open source databases, the FBI verified

GRIGGERS’ full name, date of birth, residence and his vehicle registration. They

were:
a. Date of birth: XX, XX, 1992
b, Social Security Account Number: XXX-XX-9988
c. Address: 4146 Georgia Highway 112, Montrose, GA
d, Telephone Number: 478-595-0569
e. Georgia Driver’s License Number: 055370365
f. Vehicle: White 1996, Toyota Tacoma XTRACABi
g. Vehicle VIN: 4TAWN72N3TZ142352
h, Vehicle License Plate: GA RCP2932
i. Vehicle Registered at 4146 GA Highway 112, Montrose,
Georgia

j. Employer: Wilkinson County
5. On November 17, 2020, an ATF Special Agent provided information

which corroborated that GRIGGER’S had no registered NFA firearms.

6. The Shadow Moses or Shadmo group discussed militia-type prepping,
including lengthy discussions of weapons, combat gear, and survivalist techniques.
GRIGGERS made multiple statements indicating that he was engaged in

manufacturing and acquiring multiple illegal firearms, explosives, and suppressors.

 
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GRIGGERS also expressed viewpoints consistent with white racially motivated
violent extremists (RMVEs), including the use of racial slurs, slurs against
homosexuals, and making frequent positive references to the Nazi holocaust.

7. Based on statements and photographs sent in the Shadmo group text,
FBI San Diego determined that GRIGGERS was a sworn law enforcement deputy
with the Wilkinson County Sheriff's Office in Wilkinson County, GA. GRIGGERS
described working in the local jail, and on 8/31/2019, sent a picture of a Wilkinson
County Sheriff's Office cruiser, stating it was his work vehicle. GRIGGERS made
subsequent statements describing police work, including statements that he engaged
in "room clearing drills" at abandoned properties while on patrol. GRIGGERS also
offered to provide ZAMUDIO with law-enforcement only 9mm ammunition, as well
as law enforcement explosives.

8. This list of statements is not comprehensive. Below are statements

made that indicate potential illegal activity or propensity for extremist ideological
violence. All statements in quotation marks are verbatim, including spelling and
prammar errors.

9. 12/30/2018: Discussed obtaining various prescription medications;
stated he had the following medications, and discussed distributing them to fellow
Shadmo members:

a. Ropinirole Img x31

 
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Pramipexole 0.5mg x1
Levothyroxine 50meg x31
Lamotrigine 25mg x4

Gabapentin 300mg x125

Lithium Carbonate 300mg x176
Atorvastatin 10mg x22
Hydrochlorothiazide 25mg x116.5

moog rho ao

10. 1/22/2019: In discussing gun control laws; "Well, last time it worked,
fucking Bitch ass Clinton's, but it could go like the NFA did, originally it meant to
limit concealable weapons and automatic weapons. The pistol limitation portion got
thrown out but the AOW, SBS, MG, and SBR limits stayed. The idea of limiting
SB(R/S) was actually to keep weapons from being turned into pistol sized for
concealability. They failed in there aim but did lasting damage to freedom. They're
primarily attacking our ability to more easily conduct guerrilla warfare as that is our
main defense against what they presently are, a greater enemy than foreign enemies"

11. 1/22/2019: "When they took destructive hey says they took our ability
to engage in conventional warfare provided that we had the funding to do so. There
is virtually no threat to the government of a conventional attack domestically
speaking. All that we have left is unconventional warfare, and that is all but taken
away with a modern force equipped primarily to combat unconventional warfare.
Modern sensory equipment and battlefield forensics combine to Easily cut the head
off the snake of an unconventional force. Our only saving grace is that for the time

being they have not brainwashed the military completely, and as for lawenforcement

 
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there is still a lot more brainwashing to be done. Unfortunately a good percentage
of the population believes that citizens cannot legally own automatic weapons, and
thus they are associated with evil. This type of brainwashing only gets worse with
the generation, And these new generations are white is beating the military and law
enforcement, as well as voters. It is only a matter of time before what is now quiet
submission turns into overt self-destructive behavior in the military as well as law-
enforcement like it already has with voters. Everyone's priorities are so fucked up
that all it takes is some stupid sports team getting a New stadium, which no one
bothers to think of where the funding comes from to build, and the population is
willing to throw away the protection to every rights that they have ever had or ever
will have for the sake of childish Entertainment. On one hand it infuriates me, on the
other hand I wanted to go ahead and fast-forward so I can enjoy the suffering of the
abortion that is the American population."

12. 1/22/2019: In discussing a theoretical civil war; "It still makes them a
martyr unless you can plant evidence that they were actually pro- America and have
it believed. You have to take away the perception that they are on the enemy's side
before you kill them, or else it is assumed that they died be of their views. All making
it look like an inside job does is make sure you don't get caught, doesn't make them
less of a martyr. I see what you are saying but I'm thinking of it not so much as what

is better but what is good enough, and as it stands America is the

 
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best but isn't good enough. You mean set up C4 in the toilets when you plumb in the
city? I like where this is going, Force their heads out of their asses through
concussion! Btw, if you want to feel better, look at a map of America with each
county blue or red.... fuckers would be slaughtered."

13. 3/20/2019: GRIGGERS sent a video of himself shooting a suppressed
firearm.

14, 3/21/2019: GRIGGERS continued to discuss the manufacture of
suppressors; "Made a pretty good one for a 300AAC using m baffles and 2 altered
flat baffles last night but couldn't test it on the .300 as my buddy's handguard
extended beyond the barrel and is too thin for it. We tested it with 5 rounds on a .308
with an 18" barrel and got loaded ammo, and the blast baffle wasn't even dirty
looking. Was pretty damn quiet too considering.”

15. 4/7/2019: Discussing recruiting new people and making explosives,
"Oh btw shadmo east is up to 4 ppl now lol"/"And I'm getting super technical and
shit with training plans. Also we are about to start making breaching charges" After
ZAMUDIO stated he wanted some of the explosives, GRIGGERS stated "Idk about
shipping, but with road trips or information sharing, I got you. Meaning I'm not
putting explosives in the mail but I will do the rest and tell you how to make the
explosives. Also I'm cool with in person shit obviously. Explosives will be on par

with c4. C4 is rdx with a stabilizer, I'm using ent with a stabilizer. Rdx is pound per

 
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pound equivalent to ent, so they should be about the same. The charge will be placed
between a durable water balloon and adhesive, the adhesive is used in placing the
charge, and the water, being a liquid, must change state in order to compress, as such
it does a great job of directing the blast towards the door, This means the blast isn't
as powerful on your end, but more powerful on the door's end. Basically it's much
safer"

16. 4/7/2019: GRIGGERS discussed a suppressor he had made; "We made
a .300AAC suppressor the other day that I'm quite proud of. Fucker suppressed a
308 reasonably well". His use of the term "we" indicates more than one individual
involved in a conspiracy to manufacture suppressors.

17. 7/21/2019: GRIGGERS discussed making fully automatic triggers.

18. 7/30/2019: GRIGGERS discussed making suppressors and fully
automatic weapons: "So I'm basically going to create an AR based system that gives
me these assets AR15 (select fire) Standard assault rifle 9mm pdw w/underbarrel
12ga Belt fed Img AR10 (select fire... just bc) Lightweight .308 maximized precision
From there I'll deviate and get precision bolt actions in long range cartridges. I might
move the eotech to the Img and then get a nightforce nx8 for my standard rifle. Idk
about the subgun yet, it might get a trijicon reflex. So today I got essentially a lower
receiver, bolt carrier, 3" barrel, and wide handguard to run the suppressor under. Still

need to make the suppressor and trigger group, then it's just adding the pdw stock

 

 
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and the pistol grip. ROF should be high as hell bc it's going to be short stroked,
polished, and lightened until it can just barely eat anything I want in it. I got a buddy
who can help me mill the lower parts until I get my own mill, and as for the
suppressor I'll just wait until I get my own lathe or order a solvent trap for the time
being until I get something better. The suppressor is going to be long and wide so it
should be badass quiet even with the lesser technology"

19. 7/31/2019: GRIGGERS discussed current ownership of a 5.56mm
suppressor: "T'll just make my 5.56 suppressor use the dead air mounting system, it's
stupid fast, engineered to minimize fouling on threads, and stupid secure... plus I
love my dead air brake" On this date GRIGGERS also discussed detailed plans for
making suppressors, indicating the technical knowledge for their production.
GRIGGERS also discussed purchasing a mill and lathe for $4,000, and selling
suppressors to pay for it.

20. 8/12/2019: GRIGGERS discussed the possibility of getting a "Title 7
Type 2" manufacturing license so he could legally make guns and suppressors. This
indicated that as of this time, he did not have one. No further messages from
GRIGGERS indicated he had obtained such a license.

21. 8/12/2019: GRIGGERS described using excessive force on a theft
suspect, using racial slurs: "Oh, got wrapped up in my AR and forgot to tell y'all that

I beat the shit out of a nigglet Saturday. Fucker tried to steal a 33rd glock mag from

 
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the local gun store for his buddy's “smith and Wesson"(see the problem? Even if it
was a .40s&w then a 9mm mag wouldn't work). Sheriff's dept said it look like he
fell."

GRIGGERS described the beating as "sweet stress relief." GRIGGERS went
on to make a statement that he intended to charge black people with felonies in order
to keep them from voting: "It's a sign of beautiful things to come. Also I'm going to
charge them with whatever felonies I can to take away their ability to vote"

22. 8/26/2019: GRIGGERS described planned projects making
suppressors once he got a lathe.

23. 9/17/2019: GRIGGERS described owning a .22 cal suppressor.

24. 9/19/2019: In discussing red flag laws, ZAMUDIO mentioned that
GRIGGERS was exempt from them because he was with law enforcement.
GRIGGERS replied "LE isn't exempt, but yes the idea is that it c shot goes down I'm
the guy on the inside. I can figure out if my dept is siding with the enemy or not, and
from there I'm either positioned to maximize damage by attacking from the inside,
or coordinate efforts to safely identify ourselves as patriots in order to maximize
weapons pointed towards the enemy and minimize friendly fire" He also described
obtaining law-enforcement-only items: "Also I want to get LE only stuff like

flashbangs and entry charges and say I used them in training when I pocketed them."

 
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In reply, ZAMUDIO stated "Yeah I'll pay big money for bang an boom...I'm ready
to terrorize la"

25. 10/2/2019: During a series of messages in which members of the text
group discussed a potential civil war and killing liberal politicians, GRIGGERS
wrote: "Still, if they're famous liberals they can't die from a gunshot without
becoming a martyr really... unless you successfully made it look like Muslims in
public. Then it's cool if we can get dumbasses to focus on the shit brown of their
skin(the realproblem).... but would be better with a machete so they can't go the gun
grabber route. Don't want to create as much as you kill. Maybe could make it look
like niggers but Idk if that angle would work. Idk, I think it might be best to fight
the next generation. Castrate, kill, remove voting rights, and also educate the
population. Basically kill and fuck the enemy out of existence. Only problem is you
can't expect to get them all that way, and it doesn't solve the problems already in
power...If open warfare is triggered it must be quickly and massively. That way we
can't be taken out slowly over time. They're good on the slow front be no child left
behind fucked our education system, and niggers worship welfare and reproduce
more to get paid more. We would win quick as hell in actual war.....I just don't know

if America would actually be a thing after an actual civil war be of the amount of

to "help us" and try to restructure us to be globalist socialist bitches"

 
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26. GRIGGERS continued with the statement "Maybe I am over
complicating shit, idk.... that's why I'm looking for more information gathering
capability and positioning myself in a place to get more info first hand and hopefully
make sure at least this state stays red..... though it might be better to do some trips
just south to a swing state to make sure it swings the right way." It was not specified
what action would be taken in these trips to what is likely Florida, His reference to
gathering first-hand information may be an indication that he intends to use law
enforcement information to facilitate militia activity or racial violence.

27, On4/21/2020, GRIGGERS sent pictures of a lock picking kit and stated
it was so "I can get out of places I explore without leaving obvious marks and having
to explain some dumbass shit I did."

28. On 5/16/2020, GRIGGERS stated that he had purchased two
suppressors on the website Wish.

29, On 11/18/2020, a search warrant signed by the Honorable Judge
Charles H. Weigle, United States Magistrate Judge, for the residence of
GRIGGERS. The residence was physically located at 4146 Georgia Highway 112,
Montrose, Georgia. The search warrant was executed on November 19, 2020 and
during the search of the residence a firearm appearing to be a short barreled shotgun,

was observed in the closet of GRIGGERS’ bedroom.

 
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30. The short barreled shotgun was a Browning Viana 12 gauge shotgun,
bearing serial number 113MR01948, was made in Portugal. The barrel measured to
be approximately 14 inches in length which is 2 inches shorter that the 16 inches
required by law. A query was conducted of the NFRTR revealed GRIGGERS did
not have any NFA items lawfully registered to him nor was the aforementioned rifle
registered as a short barreled shotgun.

31. Based on Affiant’s training and experience into the unlawful possession
of firearms under Title 26, United States Code, Section 5861(d) possession of a
firearm not registered to him in the (NFRTR) and 5861(f) manufacturing of illegal
firearms, there is probable cause to believe that GRIGGERS committed an act in
violation of Title 26, United States Code, Sections 5861(d), Possession of an
Unregistered Firearm.

I declare under the penalties of perjury that the forgoing is correct to the best of my
knowledge and belief.

 
   

‘Thomas (4 Mitchem, Speci ison poe
Federal Bureau of Investigation

Sworn and subscribed to before me telephonically on November 20, 2020.

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Charles H. Weigle
United States Magistrate Judge

 

 
